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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
NOVEMBER 30, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                      CIVIL ACTION
versus
                                                                      22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana, et al.


         This matter came on this day for continuation of the Bench Trial.

         PRESENT: Megan C. Keenan, Esq.
                  Victoria Wenger, Esq.
                  Sarah E. Brannon, Esq.
                  Stuart C. Naifeh, Esq.
                  Josephine M. Bahn, Esq.
                  Robert S. Clark, Esq.
                  Tiffany Alora Thomas, Esq.
                  Amanda Giglio, Esq.
                  John N. Adcock, Esq.
                  Sara Rohani, Esq.
                  Dayton Campbell-Harris, Esq.
                  Garrett Muscatel, Esq.
                  Counsel for Plaintiffs

                      Phillip J. Strach, Esq.
                      John Carroll Walsh, Esq.
                      John Clifton Conine, Jr., Esq.
                      Thomas A. Farr, Esq.
                      Cassie Holt, Esq.
                      Alyssa Riggins, Esq.
                      Counsel for R. Kyle Ardoin

                      Robert J. Tucker, Esq.
                      Michael W. Mengis, Esq.
                      Katherine L. McKnight, Esq.
                      Patrick T. Lewis, Esq.
                      Counsel for Intervenor Schexnayder and Cortez
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          Counsel present argument relative to Joint Motion to Dismiss.1 Court takes under

advisement until close of evidence.

          Page Cortez is sworn and testifies.

          Dr. John Alford is sworn, tendered, accepted as an expert in the field voting

behavior and redistricting, and testifies. Exhibit filed.

          Sean Trende is sworn, tendered, accepted as an expert in political methodology,

American politics with emphasis on voting behavior and redistricting and voting rights

act. Exhibits filed.

          Court recesses until Friday, December 1, 2023, at 9:00 a.m.

                                          * * * * *

Teri Norton/Reporter
C: CV 6; T 5.5 hrs.




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    Rec. Doc. 187.
